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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA, 1:20-CR-00104 — RJA-MJR
1:21-CR-00031 — RJA-MJR

REPORT, RECOMMENDATION
V. AND ORDER

JOSEPH BELLA,

Defendant.

 

These matters were referred to this Court by the presiding District Judge, the
Honorable Richard J. Arcara, pursuant to 28 U.S.C. §636(b)(1), to handle all pre-trial
matters and to make a recommendation as to all suppression motions. Before the Court
are defendant Joseph Bella’s motions to suppress evidence, as well as his omnibus
discovery demands.' (20-CR-104, Dkt. Nos. 23, 27, 42; 21-CR-31, Dkt. No. 8). Also
before the Court are the Government's requests for reciprocal discovery. (20-CR-104,
Dkt. Nos. 25, 29, 43; 21-CR-31, Dkt. No. 12).

For the following reasons, it is recommended that defendant's motion to suppress
evidence be denied. The Court's decisions as to defendant's omnibus discovery demands

and the Government's request for reciprocal discovery are also set forth in detail below.

 

1 Although the captioned cases are not joined in one indictment, the Court will address both matters
together because there is significant overlap in defendant's pretrial motions in each case. In the latter 21-
CR-31 case, defendant renewed his prior motion for suppression and incorporates his arguments from

the 20-CR-104 case.
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PROCEDURAL HISTORY AND BACKGROUND

On July 23, 2020, defendant was charged, in a three-count Indictment, with the
following: (1) maintaining a drug-involved premises at 224 Summer Street, Buffalo for the
purposes of manufacturing, distributing, and using marijuana, delt9-tetrahydrocannabinol,
cannabinol, 3,4-methylenedioxymethamphetamine (MDMA), psilocybin, cocaine, and
lisdexamfetamine, in violation of Title 21, United States Code, Section 856(a)(1); (2)
possession of a firearm in furtherance of a drug trafficking crime, in violation of Title 21,
United States Code, Section 924(c)(1)(A)(i); and (3) possession of a firearm and
ammunition by an unlawful user of controlled substances, in violation of Title 18, United
States Code, Sections 922(g)(3) and 924(a)(2) (the “Drug Trafficking Indictment”). (20-
CR-104: Dkt. No. 8). This Indictment also includes a forfeiture allegation encompassing
a 12-gauge Harrington and Richardson shotgun, ten 12-gauge rounds of Remington
ammunition, thirty-three 9mm Luger caliber rounds of ammunition, and forty .223 REM
caliber rounds of ammunition. (/d.)

On December 16, 2020, defendant moved to suppress evidence gained pursuant
to search warrants, and made various discovery demands. (/d., at Dkt. No. 23). The
Government filed a response. (/d., at Dkt. No. 25). On January 11, 2021, the Court held
oral argument on the motions, at which time the Government was directed to supply
defense counsel with a redacted copy of the search warrant application. Defendant was
also given an opportunity to supplement his motions or affidavit of standing. Defendant
filed a supplemental motion on February 2, 2021 providing additional support for his

motion to suppress, to which the Government responded. (/d., at Dkt. Nos. 27, 29).
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On February 25, 2021, a Superseding Indictment was returned, charging
defendant with the following offenses: 1) three counts of possession with intent to
distribute and distribution of cocaine, in violation of Title 21, United States Code, Sections
841(a)(1) and 841(b)(1)(C); (2) maintaining a drug-involved premises at 224 Summer
Street, Buffalo for the purposes of manufacturing, distributing, and using marijuana, delt9-
tetrahydrocannabinol, cannabinol, 3,4-methylenedioxymethamphetamine (MDMA),
psilocybin, cocaine, and lisdexamfetamine, in violation of Title 21, United States Code,
Section 856(a)(1); (3) possession of a firearm in furtherance of a drug trafficking crime, in
violation of Title 21, United States Code, Section 924(c)(1)(A)(i); (4) possession of a
firearm and ammunition by an unlawful user of controlled substances, in violation of Title
18, United States Code, Sections 922(g)(3) and 924(a)(2); and (4) two counts of interstate
communication threatening to injure a person, in violation of Title 18, United States Code,
Section 875(c) (the “Superseding Drug Trafficking Indictment’). (/d., at Dkt. No. 30). The
Superseding Indictment repeats the forfeiture allegations detailed above. (/d.).

Also on February 25, 2021, defendant was charged by separate Indictment with
the following offenses: (1) three counts of wire fraud relative to a scheme and artifice to
defraud and mislead a victim into selling COVID-19 tests, in violation of Title 18, United
States Code, Sections 1343 and 2; (2) two counts of mail fraud relative to COVID-19
tests. in violation of Title 18, United States Code, Sections 1341 and 2; (3) two counts of
wire fraud relative to a scheme and artifice to defraud the Small Business Administration
(‘SBA’) to obtain funds from the Economic Injury Disaster Loan (“EIDL” Program), in
violation of Title 18, United States Code, Sections 1343 and 2; (4) false statements on a

loan application relative to obtaining an EIDL, in violation of Title 18, United States Code,
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Sections 1014 and 2; and (5) money laundering, in violation of Title 18, United States
Code, Sections 1957(a) and 2 (the “Fraud Indictment”). (21-CR-31, Dkt. No. 1). This
Indictment also includes two forfeiture allegations encompassing monetary sums and
bank and investment accounts held in the names of Med-Cor Staffing, Inc. and Tatonka
Industries LLC. (/d.).

On May 7, 2021, defendant filed his second omnibus motion based upon the
Superseding Drug Trafficking Indictment (20-CR-104, Dkt. No. 42), as well an omnibus
motion on the Fraud Indictment (21-CR-31, Dkt. No. 8). The Government filed responses
to each. (20-CR-104, Dkt. No. 43; 21-CR-31, Dkt. No. 12). The Court scheduled oral
argument as to all pending motions with respect to the Drug Trafficking Indictment and
the Fraud Indictment to be held on August 13, 2021. On that date, the parties advised the
Court that they wished to rest on their papers and the Court considered the matters
submitted.

DISCUSSION
Motion to Suppress Physical Evidence

Defendant moves to suppress physical evidence, and any derivative evidence,
that resulted from the search of his residence at 224 Summer Street, Buffalo, New York,
his place of business at 155 Summer Street, Buffalo, New York and/or his person on April
23, 2020, and thereafter, on the grounds that the federal search warrants authorizing such
searches were not supported by probable cause. (20-CR-104, Dkt. Nos. 23, pgs. 22-25,
27, pgs. 2-7, 42, pgs. 23-26; 21-CR-31, Dkt. No. 8, pgs. 23-24). The Court finds no basis

to suppress this evidence.

 

2 The Court notes that no hearing is needed to determine the validity of the search warrant at issue here.
See Franks v, Delaware, 438 U.S. 154 (1978). There has been no showing that the search warrant

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Defendant submitted an affidavit asserting standing to challenge these searches.
(Dkt. No. 23-1). Therein, defendant affirms that the locations searched were his residence
at 224 Summer Street, his place of business at 215 Summer Street, and his vehicle. He
asserts that he had a reasonable expectation of privacy in each of those places. The
Government does not contest defendant's standing to challenge the search of his home
or vehicle but maintains that defendant has not shown standing to challenge the search
at 155 Summer Street. The Government argues that defendant’s mere allegation that 155
Summer Street was his place of business is insufficient to demonstrate that he had a
reasonable expectation of privacy there. See Rakas v. Illinois, 439 U.S. 128, 134 (1978)
(holding that the proponent of a motion to suppress bears the burden of establishing that
his own Fourth Amendment rights were violated by the challenged search or seizure);
United States v. Osorio, 949 F.2d 38, 40 (2d Cir. 1991) (‘The movant must show that he
had an expectation of privacy in an invaded place and that the expectation was legitimate,
one that society is prepared to recognized as reasonable.”). Here, defendant asserts that
he had a reasonable expectation of privacy in 155 Summer Street merely because that
is where he “run[s] his business.” (Dkt. No. 23-1, {| 3). It is well established that one has
standing to object to a search of his office, as well as of his home, Mancusi v. DeForte,
392 U.S. 364, 369 (1968), but defendant here fails to provide factual details necessary
for the Court to evaluate what privacy defendant enjoyed within some or all of the

business premises, including to what extent the locations searched were accessible to

 

application contained any materially false statement that was included knowingly, intentionally, or with
reckless disregard for the truth.
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other persons. Nonetheless, the Court will assume, without holding, that the defendant
has established standing in both locations and will address his arguments on the merits.

A search warrant issued by an impartial magistrate is presumptively valid. United
States v. Smith, 9 F.3d 1007, 1012 (2d Cir. 1993). Where, as here, the Court is reviewing
the probable cause determination of an independent magistrate, it asks solely “whether
the issuing judicial officer had a substantial basis for the finding of probable cause.”
United States v. Wagner, 989 F.2d 69, 72 (2d Cir. 1993). Doubts regarding the existence
of probable cause should be resolved in favor of upholding the search warrant. United
States v. Travisano, 724 F.2d 341, 345 (2d Cir. 1983): Illinois v. Gates, 462 U.S. 213, 236
(1983) (deference is to be given to the issuing magistrate).

The searches were executed pursuant to federal search warrants issued for 224
Summer Street and 155 Summer Street on April 22, 2020, and for 37 electronic devices
(phones, computers, drives, servers, etc.) on June 10, 2020. The warrant to search the
electronic devices was based upon the premises searches that occurred on April 23, 2020
and related to devices seized at those locations. The instant search warrant applications
were supported by the affidavits of Special Agents Curtis E. Ryan and Adam P. Tyrna,
respectively, of Homeland Security Investigations.

The Court has reviewed the search warrant applications and finds that there was
a substantial basis for the probable cause finding in each. Specifically, the Court rejects
defendant's arguments that the warrants lack probable cause because they (1) were
“based upon confidential sources that provided stale, hearsay, and incredible information
dating back to 2016,” (2) were constitutionally overbroad, and (3) were based upon

inaccurate information. To the contrary, the warrant affidavits were well supported by
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factual allegations which established probable cause to believe the items, information, or
evidence sought would be found in the places searched.

Defendant first asserts that the warrant applications were based on information
from confidential sources that was stale, hearsay, and incredible. Defendant provides no
further context, let alone sworn statements evidencing personal knowledge, to
demonstrate that there were any inaccuracies in the information provided by confidential
source(s). As to the staleness argument, although some of the observed criminal activity
dates back to 2016 and 2018, the affidavit explicitly alleges a pattern of ongoing criminal
activity. See United States v. Ortiz, 143 F.3d 728, 732-33 (2d Cir. 1998) (“when the
supporting facts present a picture of continuing conduct or an ongoing activity...the
passage of time between the last described act and the presentation of the application
becomes less significant.”). Indeed, defendant's fraudulent activity regarding Covid-19
test kits was observed as recently as April 22, 2020, two days before the premises warrant
was issued.

Defendant next asserts that the warrants were constitutionally overbroad in
permitting searches of both premises and all electronic devices when the allegations of
wire fraud related only to sale of “real Covid-19 laboratory tests” unrelated to defendant's
residence. “When a warrant is challenged as overbroad, the issue is whether there
existed probable cause to support the breadth of the search that was authorized.” United
States v. Dinero Express, Inc., 2000 U.S. Dist. LEXIS 2439, at *25 (S.D.N.Y. Mar. 6, 2000)
(citation omitted). The probable cause analysis is based on the _totality-of-the-
circumstances, with the task of the issuing magistrate to “simply to make a practical,

common-sense decision whether, given all the circumstances set forth in the affidavit
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before him [...] there is a fair probability that contraband or evidence of a crime will be
found in a particular place.” See Gates, 462 U.S. at 238.

Here, the search warrants were plainly supported by probable cause sufficient to
justify the search of defendant's residence and business for evidence of drug trafficking
and fraud, as well as to search electronic devices and records that were likely to contain
evidence of such crimes. Each warrant application contained a detailed affidavit laying
out the investigation into defendant's drug-related activities, participation in organized
criminal conspiracies, and fraudulent sale of Covid-19 test kits. The links between the
wire fraud allegations and the MedCor business at 215 Summer Street are clear. The
connections between defendant’s home and the illegal activity are also present. Agent
Ryan attested to the fact that, from his training and experience, individuals involved in
fraudulent activity and trafficking of controlled substances often keep money and records
associated with such activities in their residence. Further, defendant's offer of sale of the
test kits was observed via his personal Facebook account which was linked to his MedCor
email address. The domain registration for the MedCor website is billed to defendant at
his home address of 224 Summer Street. A confidential source also stated he or she
observed drug activity inside defendant's residence. Thus, the breadth of the warrants
issued for defendant's place of business, residence, and electronic devices was
appropriate.

Finally, defendant's argument that the warrants were based on inaccurate
information is also unsupported. He asserts that the affidavits stated he had multiple prior
felony convictions. To the contrary, the affidavits list defendant's past known criminal

history and involvement in fraudulent and illicit activity but include no references to
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defendant having “multiple felonies.” To this point, it is noted that defense counsel
admitted at defendant’s detention hearing that defendant does indeed have at least one
prior felony conviction. Defendant also asserts that the electronic device warrant
application inaccurately stated that approximately two ounces of cocaine was found in
defendant’s residence, when less than four grams of cocaine and “personal use
quantities” of other controlled substances were actually found. Again, the Court's review
of the affidavit defeats defendant's argument. In fact, the application to search
defendant's electronic devices clarified that “the 63.2 grams of suspected cocaine”
recovered from defendant's residence is “now believe[d] to be cutting agent [and] all other
controlled substances submitted to the laboratory that have been analyzed have
confirmed the presence of controlled substances as reference in the attached Criminal
Complaint.” In sum, the Court observes no material inaccuracies within the warrant
affidavits.

Moreover, the Court finds that even if the search warrants had been issued without
sufficient probable cause, which they were not, the good faith exception to the
exclusionary rule would prevent suppression here. In United States v. Leon, the Supreme
Court held that the exclusionary rule does not apply where “an officer acting with an
objective good faith has obtained a search warrant from a judge or magistrate and acted
within its scope.” 468 U.S. 897, 918-21 (1984). The good faith exception does not apply
where: (1) the issuing magistrate was knowingly misled; (2) the issuing magistrate
knowingly abandoned their judicial role; (3) the application is so lacking in indicia of

probable cause as to render reliance upon it unreasonable; or (4) the warrant is so facially
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deficient that reliance upon it would be unreasonable. /d. at 923. The record here is wholly
devoid of evidence that any exception to Leon would apply in this case.

For these reasons, the Court recommends that defendant’s motion to suppress
evidence recovered from his residence and place of business be denied in its entirety.

Omnibus Discovery Demands?

Bill of Particulars

Defendant requests a bill of particulars pursuant to Rule 7(f) of the Federal Rules
of Criminal Procedure. (20-CR-104, Dkt. No. 42, pg. 3; 21-CR-31, Dkt. No. 8, pg. 3).
Specifically, defendant seeks particularization as to the exact dates of the alleged
offenses, what conduct or statements manifested defendant's alleged intent or
knowledge, and, as to the Drug Trafficking Indictment, what was the actual amount of
contraband possessed, and the manner in which the alleged premises were drug
involved. (/d.).

Federal Rule of Criminal Procedure 7(f) “permits a defendant to seek a bill of
particulars in order to identify with sufficient particularity the nature of the charge pending
against him, thereby enabling defendant to prepare for trial, to prevent surprise, and to
interpose a plea of double jeopardy should he be prosecuted a second time for the same
offense.” United States v. Bortnovsky, 820 F.2d 572, 574 (2d Cir. 1987). However, “[t]he
Government may not be compelled to provide a bill of particulars disclosing the manner
in which it will attempt to prove the charges, the precise manner in which the defendants
committed the crimes charged, or a preview of the Government's evidence or legal

theories.” United States v. Rittweger, 259 F. Supp. 2d 275, 291 (S.D.N.Y. 2003). In

 

3 This section addresses all omnibus discovery demands filed by defendant with respect to both the Drug
Trafficking Indictment and the Fraud Indictment. (20-CR-104, Dkt. Nos. 23, 27, 42; 21-CR-31, Dkt. No. 8).

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determining whether a bill of particulars is warranted, a court is to consider “the complexity
of the offense, the clarity of the indictment, and the degree of discovery otherwise afforded
to defendants.” United States v. Shoher, 555 F. Supp. 346, 349 (S.D.N.Y. 1983). It is well-
settled that acquisition of evidentiary detail is not the purpose of a bill of particulars.
United States v. Torres, 901 F.2d 205234 (2d Cir. 1990). Further, a defendant is not
generally entitled to receive details of the government's conspiracy allegations through a
bill of particulars. United States v. Wilson, 493 F. Supp. 2d 364, 372 (E.D.N.Y. 2006).
The charges here are neither complex nor difficult to understand. The Superseding
Drug Trafficking Indictment alleges that defendant possessed with intent to distribute
cocaine and possessed various other controlled substances. It also alleges that
defendant is a user of controlled substances who maintained a drug-involved premises
at 224 Summer Street, Buffalo and possessed a firearm and ammunition in furtherance
of his drug trafficking activities. Lastly, it alleges that, on two specified dates, defendant
used Facebook to threaten to injure two separate victims. The Fraud Indictment alleges
that defendant owned and operated two companies through which he engaged in fraud
and money laundering. Defendant is accused of falsely representing that one company,
Medcor Staffing, Inc., was a laboratory capable of processing COVID-19 test kits to trick
a victim into selling such tests to Medcor. It is also alleged that defendant devised a
scheme to defraud persons into purchasing COVID-19 tests by falsely representing that
Medcor was authorized to distribute those tests. Defendant is further accused of
defrauding the Small Business Administration to obtain funds from the EIDL program by

falsely representing the eligibility status, revenue, and cost of goods sold by another

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company, BuyMyCard LLC. Lastly, it is alleged that defendant engaged in, or attempted
to engage in, money laundering through two internet banking transfers totaling $135,000.

Further, defendant has been provided substantial discovery in this matter
including, inter alia, search warrant applications and returns, law enforcement documents,
screenshots of messages constituting the interstate threats, reports documenting
defendant's statements to law enforcement, lab reports regarding testing of evidence,
phone records, recordings (and transcripts) of defendant negotiating the sale of the
COVID-19 test kits, copies of contracts and other documents related to defendant's
acquisition of the test kits, bank records, documents surrounding defendant's applications
for EIDL loans, copies of Facebook posts and email transmissions, and reports of
investigation detailing the investigative process. In addition, a criminal complaint filed prior
to the Drug Trafficking Indictment provides defendant with additional information
regarding the drug trafficking and firearms charges.

Considering the allegations in the Indictments, in conjunction with the criminal
complaint and the materials produced in discovery, the Court finds that defendant has
been provided with sufficient information to inform him of the charges against him,
prepare a defense, avoid surprise at trial, and ensure against double jeopardy. The
additional details sought in the omnibus motions amount to an attempt to use a bill of
particulars as a discovery device. See e.g., United States v. Biaggi, 675 F. Supp. 790,
809 (S.D.N.Y. 1987) (defendants request for “each alleged date, time, person present,
place, nature of conversation [and] amount’ is an “impermissible attempt to compel the
Government to provide evidentiary details of its case.”); United States v. Jimenez, 824 F.

Supp. 351, 363 (S.D.N.Y. 1993) (A bill of particulars is “not to be used as a general

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investigative tool for the defense, as a device to compel the disclosure of the
Government's evidence or its legal theory prior to trial, or to foreclose the Government
from using proof it may develop as the trial approaches.”). For these reasons, defendant's
request for a bill of particulars is denied.

Rule 16 Discovery

Defendant moves for discovery and inspection pursuant to Federal Rule of
Criminal Procedure 16. (20-CR-104, Dkt. No. 42, pgs. 2-13; 21-CR-31, Dkt. No. 8, pgs.
2-12). Rule 16(a) requires the Government to disclose certain evidence and information
upon request of a defendant. While Rule 16 was intended to provide for liberal discovery,
a defendant is not entitled to discovery of “the entirety of the Government's case against
him.” United States v. Percevault, 490 F.2d 126, 130 (2d Cir. 1974). Rule 16 provides that
a defendant is entitled to the following: (1) a defendant’s written, recorded or oral
statements in the possession of the Government; (2) the defendant’s prior record; (3)
documents, objects, books, papers, photographs, etc. that will be used during the
Government's case-in-chief; (4) reports of examinations or tests; (5) and information
about expert witnesses in accordance with Fed. R. Evid. 702, 703 and 705. See Fed R.
Crim. P. 16(a)(1). Rule 16 specifically exempts from disclosure “reports, memorandum,
or other internal Government documents made by an attorney for the Government or
other Government agent in connection with investigating or prosecuting the case.” See
Fed. R. Crim. P. 16(a)(2).

Defendant's Rule 16 requests include, inter alia, affidavits and information

supporting all search warrants applications,’ all physical evidence seized in connection

 

4 During oral argument on January 11, 2021, the Court granted defendant's request in part and directed
the Government to provide a redacted copy of the warrant application seeking authorization to search

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with this case; photographs; any and all written, recorded or oral statements; a copy of
defendant's prior criminal record; books, papers, documents, data, and any written or
recorded evidence material to the defense; the reports or results of any physical or mental
examinations, scientific experiments or laboratory reports; and a written summary of any
testimony the Government plans to introduce as evidence pursuant to Rules 702, 703 or
705 of the Federal Rules of Evidence. Defendant also requests written notification,
pursuant to Federal Rule of Criminal Procedure 12(b)(4), of any evidence the Government
intends to introduce at trial during its case in chief.

The Government responds that it has provided all discovery required by Rule 16
to defendant or made such discovery available to inspection by defense counsel,
including the items above in relation to defendant's request for a bill of particulars. (20-
CR-104, Dkt. No. 43, pgs. 22-25; 21-CR-31, Dkt. No. 12, pgs. 8-11). The Government
objects to defendant’s requests for statements of uncharged co-conspirators, transcripts
of grand jury testimony other than that of defendant, hearsay evidence, lab report notes,
and law enforcement documents as outside the scope of Rule 16 discovery. The
Government states that it intends to use all items of evidence that defendant has been
provided with or made aware of in accordance with Federal Rule of Criminal Procedure
12(b)(4)(A).

Based upon the representations made by the Government in their written

responses and during oral argument, defendant's request for discovery pursuant to Rule

 

defendant’s residence and place of business. Defendant supplemented his motion to suppress based on
that disclosure. (20-CR-104, Dkt. No. 27). Defendant's renewed request for disclosure of the unredacted
search warrant application is denied based on the Government's representation that the withheld
information relates to ongoing criminal investigation and sensitive witness information. See United States
v. Pirk, 282 F. Supp. 3d 585, 602 (W.D.N.Y. 2017) (finding that the Government's stated need to maintain
confidentiality due to the ongoing nature of its investigation is a legitimate basis to justify maintaining the
sealing of significant portions of a search warrant affidavit).

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16 is denied as moot. The Government is reminded that its disclosure obligations
pursuant to Rule 16 and its notice obligations pursuant to Rule 12 continue up through
and during trial. See Fed. R. Crim. P. 16(c) and 12(b)(4)(A). Finally, the Government is
expected to comply with all requirements in Rule 16, Federal Rules of Evidence 702, 703,
and 704, and the District Judge’s pretrial order as they apply to expert testimony.

Rule 404(b) and Impeachment Evidence

Defendant moves for disclosure of any evidence of prior crimes or bad acts the
Government intends to introduce at trial pursuant to Federal Rule of Evidence 404(b).
(20-CR-104, Dkt. No. 42, pg. 13; 21-CR-31, Dkt. No. 8, pgs. 11-12). Defendant also
moves for pretrial disclosure of impeachment evidence pursuant to Federal Rules of
Evidence 608 and 609. (/d.). The Government states that it will disclose any evidence in
its possession which might fall under the ambits of Rules 404(b), 608, and 609 in
accordance with the District Court's pretrial order. (20-CR-104, Dkt. No. 43, pgs. 25-27.
21-CR-31, Dkt. No. 12, pgs. 11-13). The Government is required to provide “reasonable
notice in advance of trial” of the general nature of prior uncharged crimes or bad acts it
intends to introduce against a defendant. See Fed. R. Evid. 404(b). Based upon the
Government's representation that it will disclose Rule 404(b) evidence and impeachment
evidence when required to do so by the District Court, defendant's motion is denied as
moot. The issue of admissibility of evidence pursuant to Federal Rules of Evidence
404(b), 608 and 609 is left to the determination of the District Judge at the time of trial.

Disclosure of Brady/Giglio Material

Defendant moves for the disclosure of any favorable, exculpatory or impeachment

materials pursuant to Brady, Giglio and their progeny. (20-CR-104, Dkt. No. 42, pgs. 13-

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20: 21-CR-31, Dkt. No. 8, pgs. 13-20). The Government has an obligation to disclose
exculpatory material, or material favorable to an accused as to either guilt or punishment,
even when no affirmative request has been made. Brady v. Maryland, 373 U.S. 83, 87
(1963). Material “favorable to an accused” includes not only evidence that affirmatively
tends to exculpate the defendant, but also information that impeaches the credibility of
Government witnesses. See Giglio v. United States, 405 U.S. 150, 154-55 (1972). The
test for materiality is whether “there is a reasonable probability that, had the evidence
been disclosed to the defense, the result of the proceeding would have been different.”
United States v. Bagley, 473 U.S. 667, 682 (1985). Evidence may be material for Brady
purposes even if it is not admissible, as long as it could lead to the discovery of admissible
evidence. United States v. Gill, 297 F.3d 93, 104 (2d Cir. 2002). “[A]s a general rule,
Brady and its progeny do not require immediate disclosure of all exculpatory and
impeachment material upon request by a defendant.” United States v. Coppa, 267 F.3d
132, 146 (2d Cir. 2001). “[A]s long as a defendant possesses Brady evidence in time for
its effective use, the government has not deprived the defendant of due process of law
simply because it did not produce the evidence sooner.” Id. at 144.

The Government responds that it is aware of its obligations and responsibilities
under Brady and Giglio and acknowledges its continuing duty to produce such material,
if and when it is made aware of it. (20-CR-104, Dkt. No. 43, pgs. 27-30; 21-CR-31, Dkt.
No. 12, pgs. 13-16). Given the Government's representations and for the reasons just
stated, defendant’s motion to compel the production of Brady/Giglio material is denied as
moot. The Government is reminded of its continuing Brady obligations and, consistent

with Coppa, the Government shall timely disclose any Brady and Giglio material to

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defendant. See United States v. Padovani, 14-CR-00224, 2016 WL 5402696, at *4
(W.D.N.Y. Sept. 28, 2016).

Early Disclosure of Jencks Act Material

 

Defendant requests the disclosure of all Government witness statements and
reports no less than 48 hours prior to trial in this case. (20-CR-104, Dkt. No. 42, pgs. 21-
23: 21-CR-31, Dkt. No. 8, pgs. 21-22). The Government has no general duty to disclose
the identities of its witnesses before trial. United States v. Bejasa, 904 F.2d 137, 139 (2d
Cir. 1990). Section 3500 of Title 18 of the United States Code requires that the
government, on motion of defendant, disclose a government witness's prior statements
that are in the government's possession and relate to the subject matter of the witness's
direct testimony (“3500 material”). See also Jencks v. United States, 350 U.S. 857 (1957);
Fed. R. Crim. P. 26.2 (procedure for producing a witness statement). A witness statement
is defined as: (1) a written statement by a witness that is signed or otherwise adopted or
approved by the witness; (2) a substantially verbatim recording or transcription of a
witness's oral statement; or (3) any statement however taken or recorded made by the
witness to the grand jury. 18 U.S.C. 3500(e). Statements are not required to be produced,
by law, until after the witness has testified on direct examination, and the Court cannot
mandate that they be produced sooner. See 18 U.S.C. §3500(a); Fed. R. Crim. P 26.2(a).

The Government indicates that it will disclose all 3500 material in accordance with
the District Court’s pretrial order. (20-CR-104, Dkt. No. 43, pgs. 30-31; 21-CR-31, Dkt.
No. 12, pg. 16). In light of these representations, defendant's request for disclosure of

witness statements is denied as moot.

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Informant Identities

Defendant requests the names and addresses of any Government informants, as
well as relevant impeachment material. (20-CR-104, Dkt. No. 42, pg. 23; 21-CR-31, Dkt.
No. 8, pg. 23). The Government has a qualified privilege to withhold information
concerning the names of confidential informants that it does not intend to call as
witnesses. See Rovario v. United States, 353 U.S. 53, 60-62 (1957). To that end, a
defendant seeking the identity of a confidential informant must make some evidentiary
showing as to why disclosure is significant to determining defendant's guilt or innocence.
See United States v. Jimenez, 789 F.2d 167, 170 (2d Cir. 1986) (defendants face a “heavy
burden” of establishing that disclosure is essential to the defense). Here, defendant
makes no showing as to how disclosure of informant identities is significant or essential
to his defense. If and when informants are to be called as witnesses at trial, defendant
will have access to their identities as well as all relevant impeachment material, prior
statements and notes of their interviews. In addition, should informants reveal exculpatory
information at any time, the Government has an ongoing duty to disclosure this
information in time for its effective use at trial. For these reasons, defendant's request for
pre-trial disclosure of informant information is denied.

Disclosure of Statements

Defendant requests that the Government disclose any statements made by
defendant to law enforcement along with their intentions to introduce such statements at
trial. (20-CR-104, Dkt. No. 42, pg. 25; 21-CR-31, Dkt. No. 8, pg. 24). Defendant also
seeks leave to challenge the admissibility of any such statements at a future date. (/d.).

The Government responded by providing notice that defendant made spontaneous

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statements to Homeland Security Investigation agents on the day of his arrest at 224
Summer Street. (20-CR-104, Dkt. Nos. 25, pg. 28, 43, pg. 28; 21-CR-31, Dkt. No. 12, pg.
19). Those statements were documented in the criminal complaint and provided at
defendant’s initial anpearance. The Government further advises that defendant made
spontaneous statements to Special Agent Marilyn Halliday which are detailed in the
transcript of defendant’s detention hearing. Since the time he was advised of these
statements, defendant has had two opportunities to supplement his pretrial motions.
However, he has not provided any basis to suppress this evidence. Accordingly,
defendant’s motion request for disclosure and for leave to seeking a hearing on this issue
at a later date is denied.

Leave to Make Additional Motions

Defendant moves to reserve the right to make further motions as necessary. (20-
CR-104, Dkt. No. 42, pg. 27; 21-CR-31, Dkt. No. 8, pg. 24). To the extent that defendant
intends to bring motions based upon new information or evidence that has not yet been
disclosed, his request for leave to file additional motions is granted. To the extent that
defendant intends to bring motions concerning issues that could have been raised prior
to the previous motion deadline, defendant's request is denied without prejudice to bring
the motion upon a showing of good cause for the untimely filing.

Government's Request for Reciprocal Discovery

The Government moves for reciprocal discovery pursuant to Rule 16(b) of the
Federal Rules of Criminal Procedure including the opportunity to inspect, copy or
photograph books, papers, documents, photographs, tangible objects or copies or

portions thereof which are in the possession, custody or control of the defendant and

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which the defendant intends to introduce as evidence at trial, as well as the results or
reports of any physical or mental examinations or scientific tests or experiments made in
connection with the case. (20-CR-104, Dkt. No. 43, pgs. 35-36; 21-CR-31, Dkt. No. 12,
pgs. 20-21). The Government also requests advance notice of any statement defendant
intends to use at trial pursuant to Rule 807 of the Federal Rules of Evidence and a
summary of any testimony defendant intends to use at trial pursuant to Rules 702, 703 or
705 of the Federal Rules of Evidence. (/d.) The Government's motion for reciprocal
discovery is granted, and defendant is reminded that his disclosure obligations continue

up through and during trial.

CONCLUSION

For the foregoing reasons, it is recommended that defendant Joseph Bella’s
motion to suppress evidence be denied. (20-CR-104, Dkt. Nos. 23, 27, 42, 21-CR-31,
Dkt. No. 8). Defendant’s omnibus discovery demands are decided in the manner detailed
above and the Government's request for reciprocal discovery is granted. (20-CR-104,
Dkt. No. 43; 21-CR-31, Dkt. No. 12).

Pursuant to 28 U.S.C. §636(b)(1), it is hereby ordered that this Report,
Recommendation and Order be filed with the Clerk of Court.

Unless otherwise ordered by Judge Arcara, any objections to the recommendation
portion of this Report, Recommendation and Order must be filed with the Clerk of Court
within fourteen days of service of this Report and Recommendation in accordance with
the above statute, Rules 59(b), 45(a), and 45(c) of the Federal Rules of Criminal
Procedure, and Local Rule of Criminal Procedure 59. Any requests for an extension of

this deadline must be made to Judge Arcara.

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Failure to file objections, or to request an extension of time to file objections,
within fourteen days of service of this Report, Recommendation and Order WAIVES
THE RIGHT TO APPEAL THE DISTRICT COURT’S ORDER. See Small v. Sec'y of
Health & Human Servs., 892 F.2d 15 (2d Cir. 1989).

The District Court will ordinarily refuse to consider de novo arguments, case law
and/or evidentiary material which could have been, but were not, presented to the
Magistrate Judge in the first instance. Pursuant fo Local Rule of Criminal Procedure
59(c)(2), written objections “shall specifically identify the portions of the proposed findings
and recommendations to which objection is made and the basis for each objection, and
shall be supported by legal authority.” Failure to comply with these provisions may

result in the District Court’s refusal to consider the objection.

SO ORDERED.

Dated: August 27, 2021
Buffalo, New York —

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MICHAEL J. ROEMER
United States Magistrate Judge

 

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